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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Meta Platforms, Inc., et al.,                   No. CV-20-00470-PHX-GMS
10                 Plaintiffs,                       ORDER
11   v.
12   Namecheap Incorporated, et al.,
13                 Defendants.
14
     WhoisGuard, Inc.,
15
                   Counterclaimant,
16
     v.
17
     Meta Platforms, Inc.,
18
                   Counterclaim Defendant.
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21
           Before the Court is the parties’ Stipulation to Continue the Deadline to Amend the
22
     Pleadings to Add Parties (Doc. 181). Good cause appearing,
23
           IT IS HEREBY ORDERED granting the parties’ Stipulation (Doc. 181) and
24
     amending the August 20, 2021 Order (Doc. 125) as modified by the Court’s November 17,
25
     2021 Order (Doc. 158) as follows:
26
           1. The deadline to amend the pleadings to add parties is continued to March 18,
27
                2022.
28
           IT IS FURTHER ORDERED all other orders set forth in the August 20, 2021
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 1   Order (Doc. 125) as modified by the Court’s November 17, 2021 Order (Doc. 158) shall
 2   remain in full force and effect.
 3          Dated this 25th day of January, 2022.
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